












               



In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-03-00499-CR

____________


JOHNNY PAREDEZ, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 232nd District Court

Harris County, Texas

Trial Court Cause No. 945168






MEMORANDUM  OPINION

	Appellant pleaded no contest to aggravated assault and, in accordance with
a plea bargain agreement with the State, the trial court sentenced appellant to
confinement for two years.  Appellant filed a timely notice of appeal.  We dismiss for
lack of jurisdiction.

	Rule 25.2(a) of the Texas Rules of Appellate Procedure provides, in
pertinent part:

	In a plea bargain case -- that is, a case in which a defendant's
plea was guilty or nolo contendere and the punishment did not
exceed the punishment recommended by the prosecutor and
agreed to by the defendant -- a defendant may appeal only:


	(A)	those matters that were raised by written motion filed and
ruled on before trial, or


	(B)	after getting the trial court's permission to appeal.


Tex. R. App. P. 25.2(a)(2).

	The trial court's certification of defendant's right of appeal states that this
"is a plea-bargain case, and the defendant has NO right of appeal."  See Tex. R. App.
P. 25.2(d).

	Accordingly, we dismiss the appeal for lack of jurisdiction.

PER CURIAM

Panel consists of Chief Justice Radack, and Justices Alcala and Higley.

Do not publish.   Tex. R. App. P. 47.2(b).


